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TO THE PERSON PREPARING THIS AFFIDAVIT'
                                      .You mustcomply with the appropriate requirementslisted on the backofthisform .

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                                               attached pleadings underSection 8.01-329 oftheCodeofVirginiawhich designates
             theSecretaryoftheComl
                                 nonwealthasstatutoryagentforServiceofProcess.TheSecretaryoftheCommonwealth'sONLY
             responsibility isto mail,by certified mail,retul
                                                            m receiptrequested,theenclosed papersto you.lfyou haveany questions
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